
962 So.2d 1075 (2007)
In re Appeal of DECISION OF the DISCIPLINARY BOARD NO. 06-PDB-062.
No. 2007-OB-0491.
Supreme Court of Louisiana.
August 24, 2007.

ORDER
On the showing made, we are unable to determine whether the disciplinary board acted arbitrarily, capriciously or unreasonably in dismissing the complaint. Supreme Court Rule XIX, § 30(C). However, given the allegations made by the complainant, we believe the disciplinary board erred in not directing that the matter be investigated further pursuant to Supreme Court Rule XIX, § 30(A). Accordingly, this matter is remanded to the Office of Disciplinary Counsel to conduct further investigation pursuant to Supreme Court Rule XIX, § 11(B). In its investigation, the Office of Disciplinary Counsel should review the medical records provided by complainant, as well as any other relevant evidence, before making a determination on the merits of the complaint.
/s/ Pascal F. Calogero, Jr.
Justice, Supreme Court of Louisiana
